                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


IN RE: Richele A Frechen
                           Debtor(s)                               CHAPTER 13

PENNYMAC LOAN SERVICES, LLC
                    Movant

              vs.                                                NO. 24-01545 MJC

Richele A Frechen
                           Respondent(s)

Jack N. Zaharopoulos
                           Trustee

                                                ORDER


        Upon consideration of the Objection to Confirmation of the Chapter 13 Plan filed by

 PENNYMAC LOAN SERVICES, LLC, it is Ordered and Decreed that confirmation is denied.




Case 5:24-bk-01545-MJC      Doc 14-1 Filed 07/30/24 Entered 07/30/24 15:09:55          Desc
                             Proposed Order Page 1 of 1
